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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES et al.                                    :       Case No. 3:17-cv-00072

                      Plaintiff                               :       Judge MOON


                                                              :
            -v-

    JASON KESSLER et al.                                      :

                                                              :
                      Defendants

    _______________________________________________________

                  DECLARATION OF JAMES E. KOLENICH
    _______________________________________________________


       Mr. James E. Kolenich, having been duly cautioned, declares and states as follows:


       1.         This declaration is based on personal knowledge.

       2.         FRCP 11 requires, when presenting a pleading to the Court, that “the denials of
                  factual contentions are warranted on the evidence or, if specifically so identified,
                  are reasonably based on belief or a lack of information.”

       3.         Mr. Ray has not contacted either myself or Mr. Woodard, nor have we been able to
                  contact him, for at least fourteen weeks.

       4.         Accordingly, it is impossible to sign a pleading on behalf of Mr. Ray.

       5.         Mr. Cantwell has abandoned any reasonable attempt to defend himself in this
                  litigation as stated in docket entries 511, 523, 531, 532, and 561. It is a futile act,
                  and an unreasonable drain on attorney time that other clients could profit from, to
                  sign any pleading on behalf of Mr. Cantwell.


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       6.     I have, on the date this document was filed, provided the last known contact
              information for both Defendant Ray and Defendant Cantwell to the Court.


       I declare under penalty of perjury that the foregoing is true and correct. Executed on
       September 25, 2019


                                                        s/ James E. Kolenich________
                                                        James E. Kolenich




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